         Case 3:20-cv-05376-BHS Document 19-4 Filed 07/01/20 Page 1 of 1




On Feb 25, 2020, at 1:32 PM, Michael A. Barcott <Mbarcott@hwb-law.com>
wrote:

Gentlemen,

The P&I limits on the SCANDES ROSE are $1,000,000 primary and
$9,000,000 excess for a total of $10,000,000 in P&I. Including the
Global bill and various other payments, there has been approximately
$700,000 spent to date (this is an estimate only). We expect to have
“order of magnitude” proposals from Global within a few days that will
address various plans, including retrieving remains and wreck removal.


Best regards,
Mike Barcott
